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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

 Jose Acevedo, Jr.,
       Plaintiff,
       v.                                           No. 23-cv-3225

 Illinois Department of Innovation and              Hon. Colleen R. Lawless
 Technology, et al.,
       Defendants.

            ILLINOIS DEPARTMENT OF INNOVATION AND TECHNOLOGY’S
                             MOTION TO DISMISS

       Defendant Illinois Department of Innovation and Technology (the “Department”) moves

to dismiss Plaintiff’s claims, which are barred by the Eleventh Amendment. In support of this

motion, the Department states as follows:

       1.      Plaintiff Jose Acevedo Jr., a citizen and resident of Illinois, has brought this putative

class action against the Department and Progress Software. He alleges that as a result of a

vulnerability in Progress’ MOVEit file transfer program, an unauthorized third party accessed

personal information that was in the possession of the Department. Dkt. No. 1 at ¶ 53.

       2.      Plaintiff asserts state-law claims against the Department for alleged negligence,

negligence per se, invasion of privacy, unjust enrichment, breach of implied contract, and breach

of the implied covenant of good faith and fair dealing. He requests a declaratory judgment,

injunctive relief, and damages.

       3.      Plaintiff’s claims are barred by the Eleventh Amendment, which prohibits suits in

federal court against an unconsenting State or state agency regardless of the relief sought. See

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100-101 (1984) (“It is clear, of course,

that in the absence of consent a suit in which the State or one of its agencies or departments is

named as the defendant is proscribed by the Eleventh Amendment.”).
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       4.      The Department is a state agency, see Dkt. No. 1 at ¶ 9, and it has not consented to

suit in federal court. Thus, the claims against the Department must be dismissed on Eleventh

Amendment grounds. Id.; see also id. at 106 (“[I]t is difficult to think of a greater intrusion on

state sovereignty than when a federal court instructs state officials on how to conform their conduct

to state law.”); Sorrentino v. Godinez, 777 F.3d 410, 415 (7th Cir. 2015) (“federal courts may not

entertain suits against states based on state law”).


       WHEREFORE, for the foregoing reasons, Plaintiff’s claims are barred by the Eleventh

Amendment and should be dismissed.



 Dated: August 3, 2023                            Respectfully submitted,

                                                  KWAME RAOUL
                                                  Illinois Attorney General

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